Case 2:11-cr-00036-MSD-FBS Document 362-3 Filed 05/23/16 Page 1 of 18 PageID# 4182




                                                                             100
   1       Mr. Black testifying to a weapon, or two incidents of a weapon,

   2       and we have the jury rejecting that testimony on a beyond a

   3       reasonable doubt.   So now the court sits in judgment on the

   4 |lesser standard of preponderance of the evidence.           Would submit
       I

   5 !to the court this is —         well, first, I don't, certainly don't
       i
       i
   6 |disagree with the law that the court quoted.           It is a different

           inquire, a lesser standard that the court is using today than

           the jury used.   But would just ask the court to keep in mind
       I
   9 jthat the jury certainly rejected Mr. Black's testimony under a
     i
  10 Ihigher standard, and that it is certainly a difficult issue

  11       because it's —   probably sit here all day and talk about the

  12 jdifference between beyond a reasonable doubt and preponderance
       i

  13 jof the evidence.         It's just very hard to articulate exactly what
  14 jthe difference between the two is. Or at least the exact
  15       difference between the two.    And since the jury rejected

  16 IMr. Black's testimony under the higher standard, I would
  17       certainly ask the court to view his testimony with doubt as to

  18       the truthfulness and not apply the two-point enhancement.

  19                 THE COURT:   Okay.   Ms. Everhart,   when I look at

  20       Page 1030, 1031 of the transcript and it talks about going to
  21       the hotel, this is Mr. Black's testimony, and it says "We drove

  22 jand we went off Battlefield Boulevard to the Hampton Inn and
  23 jSammy rented a room, and says, "Did Sammy tell you why he was
  24 irenting a room at the Hampton Inn when he already had a room at
  25 , the Fairfield Inn?



                 Paul L. McManus, RMR, FCRR Official Court Reporter
Case 2:11-cr-00036-MSD-FBS Document 362-3 Filed 05/23/16 Page 2 of 18 PageID# 4183




                                                                                  101
                      "Answer:     Because the police was following behind us.

                      "And after you get to the Hampton Inn, what happens?

                      "Went there,       went upstairs, we was in the room, he

   4 • gave me
        i
   5j                 "He is who?
        i



   6j                 "Me and Sammy.        He gave me a gun wrapped up in one of
   7        the towels from the hotel.
        i
   8j                 "Question:     What did he tell you if anything about the
   9 jthis gun?
  10                  "He told me that it was the big guy's begun, and for

  11 !me to get rid of it
  12                  "Now in the course of this, did you ever find out how

  13 jmuch money was owed for this marihuana?
  14                  "I think it    was over 200."

  15 !                Your argument before was that the government —        the

  16        jury could have done two things:       One was found that it wasn't
  17        in furtherance, Mr. Lloyd didn't possess the gun in furtherance
  18        of a drug crime,    right?

 19                   MS.    EVERHART:    Yes.
       i
       I
 20                   THE COURT:     And I think you may have said

 21         nullification?     Or maybe it was Mr. Watson?

 22                   MS.    EVERHART:    I don't think that it was me.

 23                   THE COURT:     Okay.

 24                   MS. EVERHART:       But I've certainly had cases where a
 25         defendant was charged with being a felon in possession of a
       i.

                  Paul L. McManus, RMR, FCRR Official Court Reporter
Case 2:11-cr-00036-MSD-FBS Document 362-3 Filed 05/23/16 Page 3 of 18 PageID# 4184




           ——                                                                       102
   1       firearm and possession in furtherance of a drug trafficking
   2       crime, found guilty of being a felon in possession and not
   3       guilty on the 924(c).        So I don't think that one can jump to the
   4       conclusion that the jury did not believe that he possessed the
   5       weapon.   And furthermore, he doesn't even have to possess it
   6 under the guidelines, it's a question of whether the gun was
           present during the commission of the offense and it's not
  8jclearly unrelated to the offense.
       j
  9|                  THE COURT:    Clearly they were trying to collect a drug
 10        debt.


 11                   MS.   EVERHART:     Yes.

 12
                      THE COURT:    At some point he came to know of the gun
 13        We don't know necessarily when.              But at some point he did.
 14                   MS.   EVERHART:     Yes.

 15                   THE COURT:    Gave it to Black.

 16                   MS.   EVERHART:     Yes.

 17
                      THE COURT:    In this instance.
       i
       I

 18 I                 Earlier we have him present in July of 2009 as
       i
 19 jreflected in Paragraph 39 with CW-15 and 16.
 20 |                 All right?    Anything else on this issue from either of
 21 jyou?
 22 ]                 MS.   EVERHART:     No,    sir.
       i
 23 |                 MR. WATSON:       No,   sir.

 24 j                 THE COURT:    Again, it's a preponderance of the

 25 evidence standard, and the fact is that the jury did not find

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Case 2:11-cr-00036-MSD-FBS Document 362-3 Filed 05/23/16 Page 4 of 18 PageID# 4185




                                                                                     103
   1           Mr. Lloyd guilty beyond a reasonable doubt of possession of a
   2           gun in furtherance of a drug trafficking crime.        But we have
           i


   3 ;these two separate incidents where Mr. Lloyd was with and
   4|participating with those trying to collect the drug monies and
   5           was clearly, at the very least, aware at some point of the
   6
               presence of a gun.     And so I think that it meets the standard
   7
               for the gun enhancement, which is a two-level enhancement.           And
           i


   8 jso that objection is overruled.
           i
  9j                     A11 right. Ms. Sullivan, where does that bring us?
 10                      PROBATION OFFICER SULLIVAN:       Okay.   Your Honor, based
 11 !on the changes that were made to some of the drug quantity
 12            calculations, the base offense level is now a 36, with the
 13
               enhancement for role at a plus three, the enhancement for the
 14
               gun at a plus two, brings us to a total offense level of 41 with
 15 jacriminal history category of 1, with the guideline range of
 16 j 324 to 405 months.

 ,J
 17 j                   THE COURT: All right. I know both of you disagree
 18 |with many of my rulings, but Ms. Everhart, is that an accurate
 19 calculation based upon where we are with the rulings?
 20 j                   MS. EVERHART:     I believe so, Your Honor.
       i

 2i j                   THE COURT:     Mr. Watson?
 22 •                   MR. WATSON:     Yes, sir, it is.

 23 I                   If I co-ld inquire as to the total drug weight though?
 24 |I do agree it's within that range, I just didn't know the exact
 25 jfinal amount.


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Case 2:11-cr-00036-MSD-FBS Document 362-3 Filed 05/23/16 Page 5 of 18 PageID# 4186




                                                                                    104

      1               PROBATION OFFICER SULLIVAN:          Well, assuming that my
   2      math is correct, I have a total drug weight of
   3      12,453.3708 kilograms of marihuana.

   4                  MR. WATSON:       Close enough to mine.

   5 !                PROBATION OFFICER SULLIVAN:          Okay.

   6                  THE COURT:      Okay.      The statutory ranges of
   7      imprisonment for the counts of which the defendant has been
   8      found guilty are as follows:           Count 1, less than 10 years, no
   9      more than life; Counts 5 and 6, not less than five years, no
  10      more than 40 years; Count 26, not more than five years.
  11                  As for supervised release —          hold on a second.

  12                  As for supervised release, Count 1 requires a period
  13      of supervision of at least five years; Counts 5 and 6 require a
 14       period of supervision of at least four years, and Count 26
 15       includes a period of supervision of at least two years.               Unless
 16 somebody speaks up I'm going to assume you all agree that those
 17 |are the applicable provisions.

 18 !                 MS.   EVERHART:     Yes,   Your Honor.

 19 i                 MR.   WATSON:     Yes,   sir.

 20
                      THE COURT:      All right.      Is there any additional

 21 jevidence? I take it — I see nobody else here to testify, so I
 22       assume there is none

 23
                      MR. WATSON:       No, sir, no additional evidence from the
 24       defendant

 25                   MS. EVERHART:      No additional evidence, Your Honor.

                 Paul L. McManus, RMR, FCRR Official Court Reporter
Case 2:11-cr-00036-MSD-FBS Document 362-3 Filed 05/23/16 Page 6 of 18 PageID# 4187




                                                                                105
   1                   THE COURT:   Okay.    I'm happy to hear from you, Ms.

   2       Everhart.


   3                   MS. EVERHART:     Your Honor, Mr. Lloyd was involved in

   4       the distribution of massive quantities of drugs in the Eastern
   5       District of Virginia.       He was the architect of many of the deals
   6       and was responsible for making sure other people stayed involved
   7       in all of this activity too.       This was not a one-shot deal.

   8       This at this time over many, many years with Mr. Lloyd involved.
   9       He says that he had other business interests and things of that
  10       nature, but it seems clear to me that the amount of time that

  11       was being devoted to drug smuggling and distribution was taking
  12       up most of his time.
       i

 13 |                  The defendant has not, of course, accepted
       !

 14 jresponsibility.          He went to trial, as was his right.     But the
 15        first step toward making amends for having committed crimes and
 16        for evil-doing is to admit that you've done it and move on from
 17        there, and that Mr. Lloyd has not done in this case.
 18                    He profited, it would seem to me, very handsomely from
 19        this, although certainly law enforcement managed to get their
 20 jhands on quite a bit of the money generated by this conspiracy.
       j


 21 jAnd certainly as we've seen in the case of Mario Woods and this
 22 ;other gentleman that we just discussed, some people did not
 23 |always pay their debts the way that they should have.            There
 24 jwere very large amounts of money involved in this.

 25 i                  And when one looks at the similarly situated

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Case 2:11-cr-00036-MSD-FBS Document 362-3 Filed 05/23/16 Page 7 of 18 PageID# 4188




       ,                                                                        106
   1 Jco-defendants in this case I would say probably the person
       j
   2 that's most in line with Mr. Lloyd, even though he was really
   3        sort of a Lloyd recruit, would be Trent Hawkins.         Now,
   a
            Mr. Hawkins had a much more extensive criminal history than
   5        Mr. Lloyd did.     But if you take a look at some of these others,
   6        for example, Michael Cromwell had a higher criminal history
   7        category, but he was also directing activities and things like
   8        that.


   9                   I think when one looks at this group, if you look at
  10        the related cased, they range from a low of 70 months for one of
  11       the individuals, Mr. Nunn, I believe, but he had no criminal
  12       history he was eligible for the Safety Valve, and then it goes
  13       all the way up to a high for Mr. Fuller who ended up getting
  14       life, and everybody else in between, including Mr. Hawkins and
  15       so forth, that one of the factors under 3553(a) is disparity of
  16
           sentencing between one defendant and another.          And I think, in
  17
           looking at the hierarchy in this case, that a sentence within
 18        the guideline range is appropriate for Mr. Lloyd.
 19                    THE COURT:      Thank you, Ms. Everhart.

 20                    Mr.   Watson?


 21
                       MR. WATSON:     We would certainly acknowledge several
 22 jaggravating factors in this case, such as the quantity of drugs,
 23 |the gun with the collection of the drug debt as alleged, the
       j
 24 !telephone calls to Mr. Heyward and Mr. McKenna, no acceptance of
 25     responsibility.        But of course Mr. Lloyd has been assessed
       L_

                    Paul L. McManus, RMR, FCRR Official Court Reporter
Case 2:11-cr-00036-MSD-FBS Document 362-3 Filed 05/23/16 Page 8 of 18 PageID# 4189




                                                                              107
   1       points for all of these already, so they certainly don't call
   2       for any enhancement or any greater penalty than is called for by
   3       the guidelines.   The guidelines, I would submit to the court,
   4       have done a very good job of capturing each and every thing
   5       alleged that Mr. Lloyd has done.     Of course we've been through
   6       the quantity today at great length, and he got points for the
   7       gun, he certainly got additional drug quantities for the calls
   8       to Heyward and McKenna, and of course he didn't get any points
   9       for acceptance of responsibility.     I would submit to the court
  10       that his guidelines are certainly substantial at the low end of
  11       324 months.   He's 49 years old.    He has no record whatsoever.
  12       Certainly remarkable to be that age with no record facing this
  13       type of sentence having been found guilty of these type of
       i
  14 Jcharges.
       I

  15                 Relative to the other defendants, his guidelines are
  16 certainly at the high end.         Of course Mr. Fuller got life
  17 because of two previous drug distribution convictions, and it
  18 |was not necessarily because of the allegations in this case, but
 19        because of his two previous convictions he got life.
 20
                     Several others in this case got somewhere around 20
 21        years, less than 20 years, maybe a little bit more than 20

 22 jyears, but that seems to be kind of the mean of what has
       i

 23 jhappened to the various defendants in this case.
 24                 Oftentimes in a federal case, the sentencing is the
 25 |most involved part of the case.          Certainly we've been here for a
                                                                                J
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Case 2:11-cr-00036-MSD-FBS Document 362-3 Filed 05/23/16 Page 9 of 18 PageID# 4190



              ,                                       .                         108
      1 ;while today, but the trial was much more involved than this, and
      2jI don't need to enlighten the court on every allegation or what
      3jevery person said during the trial, because unlike a guilty
      4 jplea, the court's heard at great length what all.the. witnesses
      5|had to say. I'd just point out that everything has been
      6 jprovided for in the guidelines.        Mr. Lloyd has gotten points or
      7
               months for every single thing, I would submit, that he did in
      8        connection to this case, and would ask the court to consider
   9
          !sentencing him, considering his age, considering his medical
          !•


 10 jcondition that was certainly set forth in the presentence report
 11 jand considering his lack of absolutely any record, any
 12 |convictions on his record, sentencing him to below the
          j
 13 ! guidelines.

 14
                        The guidelines, of course, are advisory.    The court
 15
              does not have to sentence him to 324 months.    But would ask the
 16
              court to consider sentencing him more towards the mean of what
          i

 17 jthe other defendants in this case have received.
          j


 18 j                   of course we, I know the court still has David Wheeler
 19 |tomorrow, but - or at least soon. But consider sentencing him
          j

 20 jmore towards the mean. But if the court is not inclined to do
 21 |that, to sentence him to the low end of the guidelines, which
 22
              certainly is a considerable sentence considering his age and
 23 |physical condition
 24 j                   THE COURT:   Thank you, Mr. Watson.
 25
                        Mr. Lloyd, you of course pled not guilty and went to

                     Paul L. McManus, RMR, FCRR Official Court Reporter
Case 2:11-cr-00036-MSD-FBS Document 362-3 Filed 05/23/16 Page 10 of 18 PageID# 4191




                             —                _                                           109_
      1
          trial before a jury and were tried, and now you have the right
      2
          to make a statement if you wish to.                 You don't have to, it's up
      3
          to you, but if you wish to make any statement before sentencing
      4
          takes. P.i_!.?^J1.0._As..the time to d__ that.              Do you wish. t.o make a
   5      statement?


   6                   THE DEFENDANT:         No, Your Honor.

   7
                       THE COURT:      All right.          Is there any reason that
   8      sentencing should not take place at this time, Mr. Watson?
   9                   MR.   WATSON:    No,       sir,   no reason.

  10
                       THE COURT:      The court is required by Congress to
  11      review the statutory sentencing factors.                    I've considered them
  12      all, and I will talk about some of them as I go through the
  13      presentence report.

  14                We have certainly, today, reviewed much of this
  15      transcript, and much from this case.                The presentence report
  16      does reflect that the defendant's 49 years old.                    And that when
  17
          we look at the offense conduct we're faced with offense conduct

  18 over a period of numerous years from approximately 2004 or five
  19      up until 2011.         The offense conduct descriptions at
 20       Paragraphs 19, 20, 21, and so forth go through the activities
 21
          at, among other things, the Barkleaf Drive home in Virginia
 22 jBeach where these drugs were stored for distribution, the
 23 |distribution activities taking place from there, the various
 24 others assisting in the distribution.

 25                 Mr- Lloyd, of course, was instrumental in setting up

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Case 2:11-cr-00036-MSD-FBS Document 362-3 Filed 05/23/16 Page 11 of 18 PageID# 4192




                                                                              110
       1
           this organization, obtaining drugs from various locations, and
       2
           then facilitating their distribution in cooperation with many
       3   others.


       4
                      The presentence report goes through many pf_.these_
    5
           specific incidents of Mr. Lloyd's activities, and I'm not going
   6
           to specifically go through these numerous paragraphs because we
    7
           have really done so much of that today.     But it does reflect,
   8       and the court is required in factor No. 1 to consider, the
   9       nature and circumstances of the offense.     It does reflect that
  10       Mr. Lloyd was involved over a long period of time in acquiring
  11       large amounts of these illegal substances and distributing them
  12       and facilitating their distribution.

  13                  I frequently say, particularly when we have a lot of
  14       other people here in the courtroom, family or others that come
  15       to testify, I remind them that the introduction of these drugs
  16       is like injecting poison into somebody's veins.     And that's
  17       exactly what happened year after year after year by what you
  18 |did, Mr. Lloyd. You facilitated addictions by many, many
  19 ;people.        You facilitated the breaking up of families of many
  20 jpeople.        It'll never be known how much damage the introduction
  21 jof all of these substances caused.          But once the addiction is
  22 jcreated, of course, people want to get more money, they don't
  23 |have money. They commit crime so they can find more money to
  24 jbuy more drugs. And it tears apart the community, it tears
  25       apart families, and it's simply a poison that is injected into

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Case 2:11-cr-00036-MSD-FBS Document 362-3 Filed 05/23/16 Page 12 of 18 PageID# 4193




            I                             .....   .                    _         111
    1 the veins of the community. And it was something that you had
    2jthe opportunity to think about repeatedly. You had many
    3
             years — you had no criminal history.       You had many years to
            ,think about what you were doing when you engaged in this
   5jactivity. And apparently without any hesitance you continued to
   6 ! engage in it.

   7i                 You chose to go to trial.       You did not accept
   8jresponsibility for your conduct. And that's your Constitutional
   9 jright.        But it also reflects something about your mindset here.
  10 !                The presentence report goes on to reflect that you had
        j
  11 jno prior adult criminal record.             And maybe that's —   I don't
        i

  12 jknow what that shows. Maybe it shows that at least by the time
  13 jyou engaged in this you were very good at what you were doing
  14 ! and not being found out.
        i

  i5 j                But it also reflects, of course, the fact that you
  16 Jwere not a native of this country, and that you left Jamaica in
        I
  17 j1986, moved to Miami and then you spent some time in New York

  18 .and Baltimore —        excuse me, in New Jersey, and then in Baltimore

  19 jand then in Atlanta where you resided since 1999.            And in 2007,
        1


  20 jin the midst of all of this activity, you became a naturalized
  21 ,United States citizen.        You took advantage of the benefits that
  22 jthis country had provided to you, and as I've said, you did it
  23 ito the detriment of many, many, many people.
        1


  24
                      The court does consider the hip replacement surgery
  25 jthat you had in 1996 after being involved in a serious car

                   Paul L. McManus, RMR, FCRR Official Court Reporter
Case 2:11-cr-00036-MSD-FBS Document 362-3 Filed 05/23/16 Page 13 of 18 PageID# 4194




                                                                             112
    1   accident.


    2
                     The court does consider the fact that you graduated
    3   from high school in Jamaica and then you went on and received an
    4   Associate's degree there in business and computers.       You could
    5   have used this degree to much better service than you did here,
   6    and it was obvious from what you were doing here for many years
    7   that you had the capacity to be engaged in something that
   8    contributed to the community.     A business.    You supposedly had
   9    these other businesses that were engaged in, and yet you used
  10    your time and education to run this illegal business over the

  11    course of many years and taking advantage of your time here in

  12    the United States

  13                 Nonetheless, the court does also reflect upon the

  14    positives.     I mentioned a few of them,   but also I have here a

  15    lengthy work history in various locations, and that's certainly
  16    a positive that the court takes into account,      considers.

  17                 You served in the Jamaican military from 1981 to 1984,

  18    another very positive factor that the court considers when

  19    looking at your background as reflected in the presentence
  20    report.

  21                 The court considers your family, wife, your common-law
  22    wife as recounted in Paragraph 61 in Georgia, and the child that
  23 |you have together.       And the court takes all of that into
  24    consideration.

  25                 Having considered all of the statutory sentencing

                  Paul L. McManus, RMR, FCRR Official Court Reporter
Case 2:11-cr-00036-MSD-FBS Document 362-3 Filed 05/23/16 Page 14 of 18 PageID# 4195




                                                                                 113
       1
               factors, the court is prepared to impose sentence at this time.
    2
                           Pursuant to the Sentencing Reform Act of 1984, it is
    3
               the judgment of the court that the defendant, Samuel Lloyd, is
    4
               hereby commit ted to the custody of the United, states Bureau of
    5
               Prisons to be imprisoned for a term of 360 months.    The term
    6
               consists of 360 months on Count 1, 360 months on Counts 5 and 6,
    7          and 60 months on Count 26, all to run concurrently.
   8                       Mr. Lloyd is remanded to the custody of the United
   9           States Marshal to serve this sentence.

  10 i                     Upon release from imprisonment, Mr. Lloyd shall be
  11           placed on supervised release for a term of five years.    This
  12           term consists of five years on Count 1 and 5 and 6, and three
  13           years on Count 26 to run, all of it, concurrently.
  14
                           Within 72 hours of release from custody of the Bureau
  15           of Prisons, Mr. Lloyd shall report in person to the probation
  16 joffice in the district to which he is released, if he is>
  17           released.    While on supervision, he shall not commit another
  18           federal, state or local crime, and shall not unlawfully possess
  19           a controlled substance, and shall not possess a firearm or a
  20           destructive device.

  21
                           Mr. Lloyd shall comply with the standard conditions

  22 jthat have been adopted by this court.             He shall also comply with
           i


  23 |the following conditions: He shall provide the probation
           j
  24 j^officer access to any requested financial information, and he
  25 |shall pay for support of his child in the amount ordered by any
                     Paul L. McManus, RMR, FCRR Official Court Reporter
Case 2:11-cr-00036-MSD-FBS Document 362-3 Filed 05/23/16 Page 15 of 18 PageID# 4196




                                                                             114
           social service agency or court of competent jurisdiction.    In
      the absence of such order, payments are to be made on a schedule
    3 to be determined by the court at the beginning of supervision
   4Ibased upon Mr. Lloyd's financial circumstances._
   5                 Having considered Mr. Lloyd's net worth and all the
   6jother factors in Ihe case, the court finds he's not capable of
           paying a fine; however, the court imposes a special assessment
           of $400, which is $100 for each count.   No restitution is
   9 imposed.        No fine is imposed, as I've said.

  10 |               The special assessment is due in full immediately.
  11 jWhen supervision begins, the probation officer shall take into
       t
  12 consideration Mr. Lloyd's economic status as it pertains to his
  13       ability to pay the special assessments ordered, and shall notify
  14
           the court of any changes that may need to be made.   The special
  15
           assessments may be subject to penalties for default and

  16 jdelinquency.      Nothing in the court's order shall prohibit the
       i


  17 |collection of any judgment or fine by the United States.
  18 !              Because the judgment imposes a period of imprisonment,
  19 |payment of the monetary penalties is due during that period, and
  20 jthey are to be made to the Clerk of this court, except those
 21 jmade through the Bureau of Prisons Inmate Financial
 22 ;Responsibility Program.

 23 |          Mr- Lloyd shall notify the U.S. Attorney for this
 24 idistrict within 30 days of any change of name, residence or
 25 |mailing address until the special assessments imposed by the

                 Paul L. McManus, RMR, FCRR Official Court Reporter
Case 2:11-cr-00036-MSD-FBS Document 362-3 Filed 05/23/16 Page 16 of 18 PageID# 4197




                                                                                115
           judgment are fully paid.

                     Now, Mr. Lloyd, you have the right to appeal the
           jury's verdict and the court's sentence.         If you wish to pursue
   4 an appeal, you must file a notice of appeal within 14 days from
   5 today.        If you do not file the notice of appeal on time, you may
   6jlose your right to appeal. You have the right to be assisted by
   7Jan attorney on appeal. One will be appointed for you by the
   8       court if you cannot afford to hire an attorney.         You may be
   9       permitted to file the appeal without payment of the costs if you
  10       make a written request to do so.         And if you make a request of
  11       the clerk's office, someone there will prepare and file the
  12       notice of appeal for you.

  13                 Mr. Watson, is there a request regarding the location
  14       of incarceration?    Is Georgia the request?
  15                 MR.   WATSON:    Yes,   sir.

  16                 THE COURT:      Okay.    I will make a recommendation that

  17       Mr. Lloyd be imprisoned as close to Georgia so that he can be in
  18       touch with his family as is possible.

  19 [              An<* Ms. Everhart, is there anything else that we need
  20 |to address today?
  21                MS. EVERHART:       No, Your Honor.

  22 j              THE COURT:       Mr. Watson?
  23 !              MR- WATSON:       I'm not sure if this is something the
  24 'court does address, but Mr. Lloyd just asked me about...
       I
  25 i               (Counsel and defendant conferred.)

                 Paul L. McManus, RMR, FCRR Official Court Reporter
Case 2:11-cr-00036-MSD-FBS Document 362-3 Filed 05/23/16 Page 17 of 18 PageID# 4198



                                                                                  116
       1                 MR. WATSON:    He does have a medical situation with his

   2           hip that needs to be attended to.     That is what he's telling me.
   3                     THE COURT:    Yes.   Mr. Lloyd, the Bureau of Prisons has

   4 a process where they evaluate everyone when they come in.
               Not — you're in a local jail, obviously, now, I assume, but you
               will be in a Bureau of Prisons facility, and you will be
               screened when you come in and they'll evaluate your medical
               condition in an effort to determine where you will be provided
               with appropriate medical treatment.    And if there's some

  10 jconflict between that and the court's recommendation for
           i
  11 !Georgia, then they will make that determination.              But I don't
  12 ;have the authority to make any decision on all of that.               So it
  13 |will be taken into consideration.
  14 !
                        Mr. Lloyd, you pled not guilty and went to trial here,

  15 |The court did not have as much information, perhaps, about you
  16 |personally as what sometimes Ido when someone pleads guilty and
           i




  17 jprovides additional information. But Iwill say this to you, as
  18 I do to almost everyone that comes before me:              There's a lot
  19 jthat we see here that's bad, but there's also, obviously, a lot
  20 jof good in everybody.            And so I certainly do hope that you're
           j

  21 ;able to make the most of your time while you're incarcerated,
  22 jand I certainly do wish you well.
  23
                        (Whereupon, proceedings concluded at 4:28 p.m.)
  24


 25




                     Paul L. McManus, RMR, FCRR Official Court Reporter
Case 2:11-cr-00036-MSD-FBS Document 362-3 Filed 05/23/16 Page 18 of 18 PageID# 4199



                                                                         117
  1                              CERTIFICATION


  2


  3             I certify that the foregoing is a true, complete and

  4   correct transcript, of the proceedings held in the above-entitled

  5   matter.


  6


  7


  8                       Paul L. McManus,   RMR, FCRR

  9                                 ^__4_>
 10                                   Date


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            Paul L. McManus, RMR, FCRR Official Court Report      er
